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1    McGREGOR W. SCOTT
     United States Attorney
2    KIMBERLY A. SANCHEZ
     JEFFREY A. SPIVAK
3    CHRISTOPHER D. BAKER
     Assistant United States Attorneys
4    2500 Tulare Street, Suite 4401
     Fresno, California 93721
5    Telephone: (559) 497-4000
6    Attorneys for the
     United States of America
7

8                        IN THE UNITED STATES DISTRICT COURT

9                           EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               ) NO. 1:16-CR-00069 LJO
                                             )
11             Plaintiff,                    )
                                             ) STIPULATION AND AMENDED JUDGMENT
12        v.                                 ) AND RESTITUTION ORDER
                                             )
13                                           )
     NASTASHA PARKS,                         )
14                                           )
               Defendant.                    )
15                                           )
                                             )
16

17       WHEREAS, following her entry of a guilty plea to Count 23 of the
18   Indictment (18 U.S.C. § 1029 - Conspiracy to Commit Access Device
19   Fraud), defendant NASTASHA PARKS was sentenced on August 30, 2018, to
20   a term of imprisonment and to pay restitution in the total amount of
21   $57,510.21, including $51,436.00 to the Internal Revenue Service and
22   $6,074.21 to various banks and financial institutions (CR 674);
23       WHEREAS, following defendant’s sentencing hearing, the United
24   States Attorney’s Office received additional documentation supporting
25   numerous additional banks and financial institutions’ entitlement to
26   restitution;
27       WHEREAS, following defendant’s sentencing hearing, the Court
28   sentenced all other codefendants convicted of Count 23 and ordered
29                                            -1-
                    STIPULATION AND [PROPOSED] AMENDED JUDGMENT AND RESTITUION ORDER
30
         Case 1:16-cr-00069-LJO-SKO Document 740 Filed 10/10/18 Page 2 of 7


1    them to pay restitution to banks and financial institutions in the

2    total amount of $25,263.23 in the specific amounts set forth below

3    (CR 721, 735, 737);

4        WHEREAS, pursuant to 18 U.S.C. § 3664(d)(5), good cause exists

5    for the failure to include such losses in the initial claim for

6    restitutionary relief, insofar as the claimants could not identify

7    with reasonable precision their entitlement to restitution because of

8    the large scope and extent of defendant and codefendants’ engagement

9    in access device fraud; and

10       WHEREAS, on October 9, 2018, counsel for the United States of

11   America (“government”) made available to counsel for defendant the

12   documentation it received from the restitution claimants and notified

13   defense counsel that the government supported these claims for

14   restitution;

15       ACCORDINGLY, pursuant to 18 U.S.C. § 3664(d)(5), the parties

16   stipulate that good cause exists for this Court to enter an Order

17   amending the Judgment as to defendant entered on September 5, 2018

18   [CR 674], and ordering defendant to pay restitution in the total

19   amount of $76,699.25, including $51,436.00 to the Internal Revenue

20   Service (for which defendant is solely liable) and $25,263.23, to

21   other banks and financial institutions in the specific amounts set

22   forth below (jointly and severally with codefendants Anthony

23   Windfield, Kenneth Johnson, Kenneth Wharry, and Luther Newsome):

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                    STIPULATION AND [PROPOSED] AMENDED JUDGMENT AND RESTITUION ORDER
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         Case 1:16-cr-00069-LJO-SKO Document 740 Filed 10/10/18 Page 3 of 7


1    ADAMS BANK AND TRUST                      AMERICAN FIRST CREDIT UNION
     OGALLALA, NE 69153                        ORANGE, CA 92867
2    $1,000.00                                 $433.45
3    BELLCO CREDIT UNION                       CEDAR POINT FED. CREDIT UNION
     GREENWOOD VILLAGE, CO 80155               LEXINGTON PARK, MD 20653
4    $3,154.36                                 $271.42
5    CITY NATIONAL BANK                        COLUMBIA BANK
     ATTN: CORPORATE SECURITY                  TACOMA, WA 94401-2156
6    LOS ANGELES, CA 90071                     $421.12
     $1,050.99
7
     INTRUST BANK                              M&T BANK
8    WICHITA, KS 67202                         BALTIMORE, MD 21264-2986
     $3,617.93                                 $338.88
9
     MID-HUDSON VALLEY FCU                     MSU FEDERAL CREDIT UNION
10   KINGSTON, NY 12401                        EAST LANSING, MI 48823
     $204.24                                   $282.17
11
     MUFG UNION BANK                           PACIFIC FEDERAL CREDIT UNION
12   SAN DIEGO, CA 92121                       DIAMOND BAR, CA 91765-1023
     $2,483.16                                 $2,000.00
13
     POLICE & FIRE FED. CREDIT UNION           RELIAN FEDERAL CREDIT UNION
14   PHILADELPHIA, PA 19107                    CASPER, WY 892604
     $644.66                                   $2,657.22
15
     ROYAL CREDIT UNION                        TCF NATIONAL BANK
16   EAU CLAIRE, WI 54703                      PLYMOUTH, MN 55441
     $39.26                                    $3,844.98
17
     THE FIRST NATIONAL BANK & TRUST           UNION YES FED. CREDIT UNION
18   COMPANY OF NEWTOWN                        ORANGE, CA 92868
     NEWTOWN, PA 18940                         $2,283.12
19   $40.00
20   WSFS BANK                                 ZIONS BANK
     WILMINGTON, DE 19801                      WEST VALLEY CITY, UT 84119
21   $296.14                                   $200.13
22   DEPARTMENT OF TREASURY
     KANSAS CITY, MO 64108-4302
23   $51,436.00
24

25       The parties further stipulate that, should the Court sign and
26   enter the proposed order attached hereto, the restitution hearing
27

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29                                           -3-
                   STIPULATION AND [PROPOSED] AMENDED JUDGMENT AND RESTITUION ORDER
30
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1    scheduled for October 22, 2018, be vacated.

2
     Dated:   October 9, 2018                         McGREGOR W. SCOTT
3                                                     United States Attorney
4
                                                       /s/ Christopher D. Baker
5                                                     CHRISTOPHER D. BAKER
                                                      Assistant U.S. Attorney
6

7
                                                       /s/ (via email 10/9/2018)
8                                                     KEVIN LITTLE
                                                      Attorney for Defendant
9                                                     Nastasha Parks
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                   STIPULATION AND [PROPOSED] AMENDED JUDGMENT AND RESTITUION ORDER
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         Case 1:16-cr-00069-LJO-SKO Document 740 Filed 10/10/18 Page 5 of 7


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8                       IN THE UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,             ) NO. 1:16-CR-00069 LJO
                                           )
11             Plaintiff,                  )
                                           ) AMENDED JUDGMENT AND RESTITUTION
12        v.                               ) ORDER
                                           )
13   NASTASHA PARKS,                       )
                                           )
14             Defendant.                  )
                                           )
15                                         )
                                           )
16

17       Pursuant to 18 U.S.C. § 3664(d)(5), the Judgment as to defendant
18   entered on August 30, 2018 (CR 674), is amended to provide that
19   defendant shall pay restitution in the total amount of $76,699.25,
20   including $51,436.00 to the Internal Revenue Service (for which
21   defendant is solely liable) and $25,263.23, to other banks and
22   financial institutions in the specific amounts set forth below
23   (jointly and severally with codefendants Anthony Windfield, Kenneth
24   Johnson, Kenneth Wharry, and Luther Newsome):
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                            AMENDED JUDGMENT AND RESTITUTION ORDER
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         Case 1:16-cr-00069-LJO-SKO Document 740 Filed 10/10/18 Page 6 of 7


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19   $40.00
20   WSFS BANK                                 ZIONS BANK
     WILMINGTON, DE 19801                      WEST VALLEY CITY, UT 84119
21   $296.14                                   $200.13
22   DEPARTMENT OF TREASURY
     KANSAS CITY, MO 64108-4302
23   $51,436.00
24        The restitution hearing scheduled for October 22, 2018, is
25   vacated.
26   IT IS SO ORDERED.

27     Dated:   October 9, 2018                  /s/ Lawrence J. O’Neill _____
                                         UNITED STATES CHIEF DISTRICT JUDGE
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                             AMENDED JUDGMENT AND RESTITUTION ORDER
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     Case 1:16-cr-00069-LJO-SKO Document 740 Filed 10/10/18 Page 7 of 7


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                        AMENDED JUDGMENT AND RESTITUTION ORDER
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